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                                   STATEMENT OF FACTS

       I am a Special Agent with the Federal Bureau of Investigation and I am assigned to the
Washington Field Office. As a Special Agent, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detention, investigation, or prosecution of violations of
Federal criminal laws.

       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol.

    On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the public.
On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the United States Capitol to
certify the vote count of the Electoral College of the 2020 Presidential Election, which had taken
place on November 3, 2020. The joint session began at approximately 1:00 p.m. Vice President
Mike Pence was present and presiding in the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. As noted above, temporary and permanent barricades
were in place around the exterior of the U.S. Capitol building, and U.S. Capitol Police were present
and attempting to keep the crowd away from the Capitol building and the proceedings underway
inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior façade of the building. At such time, the joint session was still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
scores of individuals inside the U.S. Capitol building without authority to be there, in violation of
Federal laws.
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        In an effort to identify individuals who had entered the Capitol unlawfully on January 6,
2021, the FBI posted still photographs of numerous individuals inside the U.S. Capitol that day in
an effort to enlist the public in identifying suspects. One of the individuals was a white male with
brown hair and a beard who was identified as “73” by the FBI as depicted below:




        On or about January 8, 2021, a video was posted on dailymotion.com which captured
events on January 6, 2021 inside the U.S. Capitol. The video URL can be accessed at the following
link: https://www.dailymotion.com/video/x7yk4tn. At approximately the 16-minute mark,
MICHAEL PERNA is observed inside the U.S. Capitol. PERNA is observed wearing a red hoodie
with white lettering, “Make America Great Again.” Additionally, PERNA is observed with a
cellular device in his right hand in which it appears he is filming and chanting, “U.S.A.” PERNA
is depicted in the two screen shots attached and circled in red.
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        On January 11, 2021, U.S. Magistrate Judge, Michael G. Harvey, authorized a warrant for
PERNA’s Facebook account. On or about January 6, 2021, an 8-minute video was posted to
PERNA’s Facebook account. At the beginning of the video, a male introduced himself, PERNA,
and female. The three individuals are sitting in a hotel room and are being filmed by an unidentified
male. The male, PERNA, and the female described their experiences in Washington, D.C. at the
Capitol. At approximately the 1 minute 50 second mark, PERNA stated, “STEVE and I we walked
right into the Capitol building.”
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        On or about January 13, 2021, a witness (W-1) who is familiar with the individual depicted
as “73” on the FBI bulletin contacted the FBI. W-1 advised that it recognized “73” as MATTHEW
PERNA. W-1 indicated that it had known PERNA for several years. Although W-1 and PERNA
had not communicated in a few years, W-1 would view PERNA’s public Facebook account from
time to time. W-1 had seen Facebook postings by PERNA indicating his support for President
Trump, as well as his support for QAnon. 1 W-1 recalled seeing a Facebook post by PERNA within
the past several months indicating that PERNA had purchased a handgun. Finally, W-1 advised
that it had seen a Facebook video posted by PERNA showing PERNA at the U.S. Capitol on
January 6, 2021.

       On or about January 13, 2021, another witness (W-2) who is familiar with the individual
depicted as “73” on the FBI bulletin was contacted by the FBI. W-2 advised that it recognized
“73” as MATTHEW PERNA. W-2 indicated that it had known PERNA due to living in the same
town and often saw PERNA at a local business. W-2 was aware of PERNA’s Facebook account
and believed he was a conspiracy theorist and supported QAnon.      Finally, W-2 had seen a
Facebook video posted by PERNA showing PERNA at the U.S. Capitol on January 6, 2021.

        On or about January 14, 2021, PERNA contacted a Special Agent with the FBI. PERNA
indicated that he had learned from an associate in law enforcement that he was depicted as “73”
on the FBI’s website relating to events at the U.S. Capitol on January 6, 2021.

        Agents met with PERNA on or about January 14, 2021, at his home. They advised him
that he was not under arrest. PERNA confirmed that he was in fact the person depicted as “73” on
the FBI’s website. PERNA said that he had attended President Trump’s rally on January 6, 2021,
and that he marched with others to U.S. Capitol after the rally. PERNA indicated that he and a
friend went to the top of the steps of the Capitol building’s west side and was surprised that the
door was open. Two U.S. Capitol police officers were inside the door. PERNA claimed that he

1
  QAnon is a sprawling, discredited, anti-establishment conspiracy theory that originated from postings on
online message boards by an anonymous individual known as “Q.” Q claims to be a high-level government
official with a Q clearance and access to classified information. Central to the QAnon conspiracy theory is
the false belief that the world is run by a cabal of Satan-worshipping pedophiles and child-traffickers
(allegedly largely comprised of prominent Democratic politicians, so-called “Deep State” government
employees, journalists, and Hollywood elite) and that President Trump is secretly working with Q and
others to take down the cabal. Many QAnon adherents (known as “Anons”) refer to themselves as “digital
soldiers” and believe they are engaged in an epic battle between good and evil and darkness and
light. Following the November 3, 2020 election, many QAnon adherents began pushing false and
discredited theories of massive voter fraud and that the 2020 election had been “stolen” from President
Trump. Other prominent QAnon adherents exhorted the “Anons” to “trust the plan,” believing that
President-Elect Biden’s victory is illusory and part of a convoluted plan by Q and others to reveal the crimes
of the cabal to the world, resulting in President Trump securing a second term. QAnon believers are waiting
for two major events, which they refer to as the “the Storm” and the “Great Awakening.” The “Storm”
refers to a day of violence which will result in mass arrests, military trials, and executions of the members
of the cabal. According to QAnon lore, “the Storm”, will be followed by the “Great Awakening,” which
generally refers to the belief that the truth of the central tenets of QAnon will be revealed to the world.
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was pushed into the building by a crowd that had gathered behind him. PERNA claimed that it
was not his intention to enter the Capitol.

         PERNA claimed that he was inside the Capitol building for only five to ten minutes. In a
later interview, PERNA admitted that at one point he become frustrated, and, using a metal pole,
tapped on a window of the Capitol building.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
PERNA violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that PERNA violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent Anthony Farrar
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of January 2021.
                                                                              Digitally signed by
                                                       Robin M.         Robin M. Meriweather
                                                       Meriweather Date:      2021.01.18
                                                                        15:50:41 -05'00'
                                                      ___________________________________
                                                      Robin M. Meriweather
                                                      U.S. Magistrate Judge
